          Case 4:21-cv-00450-JM Document 284 Filed 06/20/23 Page 1 of 1

                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                     PLAINTIFFS

V.                                       4:21CV00450 JM


LESLIE RUTLEDGE, et al.,                                                  DEFENDANTS


                                         JUDGMENT

       Pursuant to the Order entered on this day, Judgment is hereby entered in favor of the

Plaintiffs and against the Defendants.

       IT IS SO ORDERED this 20th day of June, 2023.


                                                           _________________________
                                                           James M. Moody Jr.
                                                           United States District Judge
